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                                     January 27, 2021

VIA ECF

The Honorable Loretta A. Preska
District Court Judge
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007

       Re:    Giuffre v. Maxwell, Case No. 15-cv-7433-LAP

Dear Judge Preska,

        Pursuant to the Court’s orders dated January 19 and January 26, 2021 (ECF No. 1193),
Plaintiff files the documents ordered unsealed listed in Exhibit F to Defendant’s Reply
Memorandum of Law in Further Support of Objections to Unsealing Sealed Materials Related to
Docket Entries 231, 279, 315, 320, and 335 (ECF No. 1167-2), as attachments hereto. Material
subject to this Court’s January 26, 2021, order remains redacted. ECF No. 1193.

                                          Sincerely,

                                          /s/ Sigrid McCawley
                                          Sigrid S. McCawley, Esq.


       cc: Counsel of Record (via ECF)
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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK

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                                                  .............................................
VIRGINIA L. GIUFFRE,

        Plaintiff,
v.
                                                                                                         15-cv-07433-RWS
GHISLAINE MAXWELL,

        Defendant.


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 DEFENDANT’S SUBMISSION REGARDING “SEARCH TERMS” AND NOTICE OF
                 COMPLIANCE WITH COURT ORDER
         CONCERNING FORENSIC EXAMINATION OF DEVICES




                                                                                                  Laura A. Menninger
                                                                                                  Jeffrey S. Pagliuca
                                                                                                  HADDON, MORGAN, AND FOREMAN, P.C.
                                                                                                  East 10th Avenue
                                                                                                  Denver, CO 80203
                                                                                                  303.831.7364
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              documents relating otherwise to Plaintiff including her hospital records (RFP 25),
               passport (RFP 26), monetary payments made to her (RFP 27), her employment
               (RFP 28), and any person to whom she gave a massage (RFP 29).

       Ms. Maxwell conducted a thorough search of her email systems and her devices prior to

her production on February 8, 2016. All documents identified as responsive were reviewed by

counsel and either produced or placed on a privilege log. The First Responses were the subject

of litigation in March and April 2016. This Court limited the scope of a number of the requests

(see Transcript of March 17, 2016 and Order of April 15, 2016 (Doc. # 098), and Ms. Maxwell

later produced, pursuant to this Court’s Order, documents that originally had been withheld

pursuant to privilege. As of April 18, Ms. Maxwell’s production of documents responsive to

Plaintiff’s First Request for Production of Documents was complete.

       Plaintiff served a Second set of Requests for Production on April 14. Those Requests

primarily concerned police reports about Plaintiff’s various contacts with law enforcement and

how the defense was able to obtain those publicly-available documents (RFP’s 1-5, 19). The

Second Requests also sought:

              Joint Defense Agreements with Mr. Epstein and Mr. Dershowitz (RFPs 6, 7, 9
               and 10) and communications with Mr. Dershowitz’s counsel (RFP 11);

              “all documents concerning Virginia Giuffre” (RFP 12);

              any contracts with or agreement for legal fees to be paid by Epstein (RFP 13-15);

              documents concerning public statements made by Ms. Maxwell (RFP 17-18).

       Again, Ms. Maxwell and her counsel conducted a thorough search and produced any

responsive non-privileged documents.

       To date, Ms. Maxwell has produced 1,130 pages of documents. Litigation concerning

whether the searches conducted were thorough enough then ensued leading to the instant

submission.


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searched yet there is no RFP related to those names, nor the vast majority of the other listed first

and surnames.1

         By correspondence of July 14, Ms. Maxwell’s counsel specifically identified the

problematic terms, agreed to a limited list, and requested a substantive conferral call on this

issue. See Menninger Decl., Ex. B. In that correspondence, Defendant’s counsel gave specific

reasons for the objection to a number of the terms that were problematic in that they called for

the search of common words, names or phrases that would likely result pulling documents

completely unrelated to this case. Id. Counsel also suggested proposed limiting terms with

respect to names of individuals to appropriately limit the scope and target the search. Id.

(suggesting limitations on searches of names to “make some effort to match them to actual

people who have some relationship to this case (like first name /3 last name or some parts

thereof)”).

         After explaining the appropriate and well-reasoned objections to certain terms, defense

Counsel agreed to search over 110 of Plaintiff’s proposed search terms, despite the fact that

many of those terms were objectionable. Id. (“Although many of your other search terms are a

         1
            On or about June 27, 2016, Plaintiff’s counsel Bradley Edwards and Defendant’s counsel Jeffery Pagliuca
held a telephone meet and confer conference on a number of issues. Among the issues raised by Mr. Pagliuca was
the overbreadth of the proposed search terms. The discussion was left that Mr. Edwards would talk with Plaintiff’s
team of lawyers to narrow the scope, as Mr. Pagliuca understood it. Thus, contrary to the representation in the
Motion, Ms. Maxwell’s counsel did inform Plaintiff’s counsel of their disagreement with the proposed search terms.
As well, Mr. Pagliuca informed Mr. Edwards that because he, Laura Menninger and Ms. Maxwell were all traveling
on vacations in the weeks before and after the 4th of July holiday, that they would need additional time to comply
with the Court’s Order and provide the production. Mr. Pagliuca and Mr. Edwards agreed that productions would be
made prior to Ms. Maxwell’s second deposition, scheduled by agreement on July 22, 2016.
          Based on this discussion, defense counsel was blindsided when they received the Motion for Sanctions,
anticipating that they would soon be receiving a substantially limited and modified list of proposed search terms to
permit search and production prior to the July 22 deposition. In the interim, all of Ms. Maxwell’s electronic devices
had been sent for imaging.
          Defense counsel corresponded with Plaintiff’s counsel upon receipt of the Motion for Sanctions, requesting
that it be withdrawn (without prejudice), pending completion of conferral on the search terms as required by this
Court’s specific and general orders on conferral. It appears there was a miscommunication between Plaintiff’s own
counsel on this issue, as well as between counsel for both of the parties; but, it was clearly just that – a
miscommunication and misunderstanding on where things stood.


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with anyone that Plaintiff believed was or might be a witness, although no discovery requests

called for such communications.

       Consequently, during the conferral call, Plaintiff’s counsel agreed to withdraw the vast

majority of objectionable terms. She also agreed to supply a list of witnesses who she believes

truly might in some way relate to “massages” and submit that to defense counsel. See

Menninger Decl., Ex. D. Plaintiff thereafter provided an additional 66 terms, all names, which

Plaintiff claims she has some reason to believe are “related to massages.” Menninger Decl. Ex.

E. Ms. Maxwell does not believe that searching these terms is appropriate, because, for example,

the names include a journalist (Vicky Ward), Mr. Epstein’s elderly secretary, and various

business people that form part of Plaintiff’s false narrative regarding her “sex trafficking,” and

searching for names in the absence of a topic (i.e., massages) is well-beyond the actual requests

for production.

        Nevertheless, Ms. Maxwell did in fact run all of the names proposed by Plaintiff against

the forensic images of Ms. Maxwell’s computers and her email accounts. The second search

yielded 284 additional documents, each of which were reviewed individually by counsel for Ms.

Maxwell. Menninger Decl. paragraph 8 and 9. Again, not a single responsive, non-privileged

document was located; the vast majority of documents were pleadings from this case.

       The complete list of terms run against Ms. Maxwell’s electronic devices and email

accounts as agreed to by the parties is attached. Menninger Decl., Ex. F. Compliance with the

Court’s Order to run agreed to terms was completed by July 21, 2016, prior to Ms. Maxwell’s

second deposition.




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       Ms. Maxwell hereby respectfully requests that:

       i.     Plaintiff Virginia Giuffre’s Motion for an Adverse Inference Instruction Pursuant

              to Rule 37(b), (e) and (f), Fed. R. Civ. P., be stricken;

       ii.    Ms. Maxwell be awarded the costs of engaging the forensic examiner.

Dated: August 1, 2016.



                                                 Respectfully submitted,



                                                 /s/ Laura A. Menninger
                                                 Laura A. Menninger (LM-1374)
                                                 Jeffrey S. Pagliuca (pro hac vice)
                                                 HADDON, MORGAN AND FOREMAN, P.C.
                                                 150 East 10th Avenue
                                                 Denver, CO 80203
                                                 Phone: 303.831.7364
                                                 Fax:     303.832.2628
                                                 lmenninger@hmflaw.com

                                                 Attorneys for Ghislaine Maxwell




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                               CERTIFICATE OF SERVICE

       I certify that on August 1, 2016, I electronically served this Defendant’s Submission
regarding “Search Terms” and Notice of Compliance with Court Order Concerning Forensic
Examination of Computer Device via ECF on the following:

Sigrid S. McCawley                              Paul G. Cassell
Meredith Schultz                                383 S. University Street
BOIES, SCHILLER & FLEXNER, LLP                  Salt Lake City, UT 84112
401 East Las Olas Boulevard, Ste. 1200          cassellp@law.utah.edu
Ft. Lauderdale, FL 33301
smccawley@bsfllp.com
mschultz@bsfllp.com
                                                J. Stanley Pottinger
Bradley J. Edwards                              49 Twin Lakes Rd.
FARMER, JAFFE, WEISSING, EDWARDS,               South Salem, NY 10590
FISTOS & LEHRMAN, P.L.                          StanPottinger@aol.com
425 North Andrews Ave., Ste. 2
Ft. Lauderdale, FL 33301
brad@pathtojustice.com
                                                /s/ Nicole Simmons
                                                Nicole Simmons




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accounts.”


    II.      APPLYING THE SEARCH TERMS

          Ms. Giuffre requested that Defendant apply the search terms in such a way that they

would yield documents responsive to Ms. Giuffre’s requests and in such a way wherein

responsive documents would not be “missed” as a result of Defendant’s behind-the-scenes

maneuvering with the syntax of the search terms. Specifically, Ms. Giuffre requested:


          When applying the search terms, the search terms need to “hit” on documents even if
          the terms are embedded within other words. So, for example, the term “acuity” would
          yield a hit on the document, even if the word in the document is “acuityreputation.” To
          return a hit on those embedded terms, I request that you use “wildcards” to ensure that
          embedded terms are located. (Wildcard characters are used to expand word searches into
          pattern searches by “replacing” single or multiple characters.) Where there are a specific
          number of characters needed to be included, a single wildcard will achieve that purpose.
          For example, in some programs, ! is used for single character wildcards, and * is used
          for multiple character wildcards. For instance:

                 (a) Single character wildcard example: a search for L!n! will return “long,”
                     “link,” “lane,” “lone,” etc.
                 (b) Multiple character wildcard example: a search for chil* will return
                     “children,” “chill,” “chilling,” etc.
                 (c) Mixed use of wildcards: a search for L!n* will return “lines,”
                     “lining,” “linty,” etc.

          Accordingly, the below search terms are submitted with wildcard characters to be applied
          in the manner of the examples above. Please apply them as such with whatever characters
          is required by the software/platform that you will be using.

          Similarly, regarding how the terms are combined (AND or OR). OR should expand
          your results while AND will restrict result to only those which include all the terms.

          Additionally, I want to clarify that I would like all of the metadata to be searched in
          addition to the text of the documents. For example, if the search term is “acuity,”
          “hits” should include all the document that include the word “acuity” in their text OR
          in their metadata (this includes words in items such as email subjects, filenames, as
          well as any documents which include that word somewhere within their text).


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       I also wanted to point out another special syntax with regard to proximity searching. This
       is a search that finds words within a specified distance from one another. On some
       software, this is represented as w/#, so a search for “meet w/2 greet” will return “meet
       and greet,” “greet and meet” and “meet and nicely greet.” Please apply accordingly.

       Additionally, for searches for people’s initials in the search terms, please use “exact
       matches,” “stand alone,” or “literal” terms (see, e.g., PA, AD, JE, GM).

       Finally, the search terms are not to be treated as case-sensitive, meaning that the terms
       should be searched according to their letters, regardless of whether they are represented
       in the list as containing upper case or lower case letters.

       Should the Court, again, order Defendant to run search terms over her data, Ms. Giuffre

respectfully requests that the Court direct Defendant to employ the above methods in applying

search terms.


   III. PROPOSED SEARCH TERMS

       Running search terms necessarily involves some trial-and-error and some negotiation

among the parties. Typically, if a proposed term yields an enormous number of “hits,” and the

first 50 randomly-chosen documents from different parts of the body of these hit are clearly

unresponsive, the party running the term informs the party requesting the term of that fact and

further discussions follows. For example, the requesting party might refine the term or eliminate

the term entirely. A term can be refined by attaching another term to it or putting other

limitations on the term.


       By the method proposed by Ms. Giuffre, no party’s search terms can yield an undue

number of documents or an undue number of “false hits” for the other party to labor to review,

since the search terms are crafted in a dynamic, “negotiated” fashion as describe above. Also,

such a method, performed in good faith, does not necessitate motion practice or Court

intervention.



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       In this case, counsel for Defendant has not disclosed to counsel for Ms. Giuffre the

number of hits yielded by the terms to which they object. It is unclear whether or not

Defendant’s counsel has “run” the terms to which they object to see what sort of results are

produced. Without taking that step, Defendant simply cannot put forth valid objections to Ms.

Giuffre’s proposed terms.


       Many of Ms. Giuffre’s proposed search terms are derived from the names listed in

Defendant’s Rule 26 disclosures and Plaintiff’s Rule 26 disclosures, who, under Rule 26, are

“individual[s] likely to have discoverable information.” Fed. R. Civ. P. 26(a)(1)(A)(i). Ms.

Giuffre has previously agreed to winnow that group down by omitting their first names as search

terms. Those changes are reflected in the terms listed below.


    Regarding Ms. Giuffre’s refinement of those terms - eliminating the first names derived

from individuals in the Rule 26 Disclosures - Ms. Giuffre noted to Defendant’s counsel: “The

vast majority of the surnames are fairly uncommon (e.g., “Kucukkoylu”), therefore, I assume

from the outset that any “hits” they yield will relate to the individual, and be limited in number.

For those surnames that are more common, or have other meanings (e.g., Grant, Hall), I have

noted the full name [below in this email] for ease of reference. For those names, please use a

reasonable, good-faith syntax to capture communications with those individuals -- for example:

“Alex* w/50 Hall.” Sometimes that takes some trial-and-error – I’m happy to be of any

assistance with regard to that process. Please let me know what your syntax you ended up using

for those terms.” Ms. Giuffre’s proposal of such syntax limitations shows that Ms. Giuffre is

not trying to bury Defendant in a document review, but, instead, trying with precision to obtain

relevant and responsive documents.



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term.

    IV. CONCLUSION

    Should this Court Order Defendant to run particular search terms, Ms. Giuffre respectfully

requests that the Defendant be directed to run the terms set forth above, incorporating Ms.

Giuffre’s previous instructions reiterated above so that relevant data is captured. However, it is

Ms. Giuffre’s position that such a production - long after the close of fact discovery - would be

untimely and prejudicial. Accordingly, based on Defendant’s systematic foot-dragging and

obstructionism during the entire discovery period, and based on the prejudice to Ms. Giuffre

concerning the late production, Ms. Giuffre respectfully requests that this Court, also, grant her

motion for an adverse inference jury instruction pursuant to Rule 27(b), (e), and (f), with respect

to the electronic documents and electronic communications Defendant failed to produce in

defiance of this Court’s order. The time to negotiate search terms has long passed; this Court

should not countenance Defendant profiting from her refusal to comply with her discovery

obligations and from her refusal to obey this Court’s Order.


Dated: August 1, 2016

                                             Respectfully Submitted,

                                             BOIES, SCHILLER & FLEXNER LLP

                                         By: /s/ Sigrid McCawley
                                              Sigrid McCawley (Pro Hac Vice)
                                              Meredith Schultz (Pro Hac Vice)
                                              Boies Schiller & Flexner LLP
                                              401 E. Las Olas Blvd., Suite 1200
                                              Ft. Lauderdale, FL 33301
                                              (954) 356-0011

                                              David Boies
                                              Boies Schiller & Flexner LLP
                                              333 Main Street
                                              Armonk, NY 10504

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                                             Bradley J. Edwards (Pro Hac Vice)
                                             FARMER, JAFFE, WEISSING,
                                             EDWARDS, FISTOS & LEHRMAN, P.L.
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                                             Fort Lauderdale, Florida 33301
                                              (954) 524-2820

                                             Paul G. Cassell (Pro Hac Vice)
                                             S.J. Quinney College of Law
                                             University of Utah
                                             383 University St.
                                             Salt Lake City, UT 84112
                                             (801) 585-52021




                                CERTIFICATE OF SERVICE



1
  This daytime business address is provided for identification and correspondence purposes only
and is not intended to imply institutional endorsement by the University of Utah for this private
representation.
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       I HEREBY CERTIFY that on the 1st day of August, 2016, I electronically filed the

foregoing document with the Clerk of Court by using the CM/ECF system. I also certify that the

foregoing document is being served this day on the individuals identified below via transmission

of Notices of Electronic Filing generated by CM/ECF.

       Laura A. Menninger, Esq.
       Jeffrey Pagliuca, Esq.
       HADDON, MORGAN & FOREMAN, P.C.
       150 East 10th Avenue
       Denver, Colorado 80203
       Tel: (303) 831-7364
       Fax: (303) 832-2628
       Email: lmenninger@hmflaw.com
               jpagliuca@hmflaw.com




                                                    /s/ Sigrid S. McCawley
                                                        Sigrid S. McCawley




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                               UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF NEW YORK

--------------------------------------------------X




                                                ..........................................
VIRGINIA L. GIUFFRE,

        Plaintiff,
v.                                                                                           15-cv-07433-RWS
GHISLAINE MAXWELL,

        Defendant.


--------------------------------------------------X

                        Declaration Of Laura A. Menninger In Support Of
     Defendant’s Submission Regarding “Search Terms” And Notice Of Compliance With
            Court Order Concerning Forensic Examination Of Computer Devices

        I, Laura A. Menninger, declare as follows:

        1.       I am an attorney at law duly licensed in the State of New York and admitted to

practice in the United States District Court for the Southern District of New York. I am a

member of the law firm Haddon, Morgan & Foreman, P.C., counsel of record for Defendant

Ghislaine Maxwell (“Maxwell”) in this action. I respectfully submit this declaration in support of

Reply to Plaintiff’s Opposition to Defendant’s Motion To Reopen Plaintiff’s Deposition.

        2.       Attached as Exhibit A (filed under seal) is a true and correct copy of

correspondence from Meredith Schultz to me dated June 30, 2016.

        3.       Attached as Exhibit B (filed under seal) is a true and correct copy of

correspondence from me to Meredith Schultz dated July 14, 2016.

        4.       Attached as Exhibit C (filed under seal) is a true and correct copy of

correspondence from me to Meredith Schultz dated July 18, 2016.
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or other document transmissions or photography. Those devices did not contain any responsive

documents.

Dated: August 1, 2016

                                              By: /s/ Laura A. Menninger
                                              Laura A. Menninger




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                               CERTIFICATE OF SERVICE

        I certify that on August 1, 2016, I electronically served this Declaration Of Laura A.
MenningerIn Support Of Defendant’s Submission Regarding “Search Terms” And Notice Of
ComplianceWith Court Order Concerning Forensic Examination Of Computer Devices via ECF
on the following:

Sigrid S. McCawley                              Paul G. Cassell
Meredith Schultz                                383 S. University Street
BOIES, SCHILLER & FLEXNER, LLP                  Salt Lake City, UT 84112
401 East Las Olas Boulevard, Ste. 1200          cassellp@law.utah.edu
Ft. Lauderdale, FL 33301
smccawley@bsfllp.com
mschultz@bsfllp.com
                                                J. Stanley Pottinger
Bradley J. Edwards                              49 Twin Lakes Rd.
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FISTOS & LEHRMAN, P.L.                          StanPottinger@aol.com
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brad@pathtojustice.com
                                                /s/ Nicole Simmons
                                                Nicole Simmons




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                    EXHIBIT B
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From:                           Laura Menninger
Sent:                           Thursday, July 14, 2016 2:35 PM
To:                             Meredith Schultz
Cc:                             Jeff Pagliuca; Sigrid S. McCawley - Boies, Schiller & Flexner LLP (smccawley@bsfllp.com);
                                'brad@pathtojustice.com' (brad@pathtojustice.com)
Subject:                        Giuffre - Conferral regarding search terms


M eredith–

Iam w ritingtoyou,incom pliancew iththeCourt’sO rder,tonegotiatethesearchterm sforthesearchofourclient’s
electronicdevices.W hileJeffraisedm any oftheseissuesorally w ithBrad lastw eek,Iam includingthem inw rittenform
sothattherecanbenodisputeaboutourposition.

Idoobjecttothevastnum berofyour368 searchterm s.M ostarenottied toany R equestforP roductionservedonM s.
M axw ell,northeCourt’sO rderslim itingthoserequests.

T erram ar–
S earchterm 49 is“ T erram ar.” W hilew earesearchingourclient’sterram arem ailaddressforotherw iseresponsive
docum ents,thissearchterm w ould pullupthousandsofdocum entsrelated toherw orkforthatorganizationw hichare
(a)non-responsiveand(b)irrelevanttothisaction.W ew illnotagreetothisstandalonesearchterm .

W itnessN am es
W ithregardtothesearchterm snum bered 124-341,insofarasIcantell,you havesim ply brokenapartthefirstand last
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com m unicationsbetw eenourclientand yourw itnesses.T herearesom eR FP sw hichidentify individualw itnessesw hose
com m unicationsw ithourclientyou sought(e.g.,1 – Epstein,2,-P laintiff
                                           and Iw illincludethosenam esw ithinoursearches.

Astoothernam esincluded onthelist,m any areincredibly com m onnam es
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by ourclient,orherfam ily m em bers,orany otherdocum entinherpossessionw ithherow nnam eonthedocum entor
inthem etadata,inotherw ordshundredsofthousandsofnon-responsivedocum ents.Yoursearchterm sinclude“
and thusarelikely toincludeevery billthatourclienthasreceivedorsentordiscussed.Yoursearchterm sinclude
        w hothecourthasalready ruledm aintainsanattorney-clientrelationshipw ithourclient(and totheextent
othersarecopiedonhisem ails,thosew ould becaptured by searchesfortheotherpeople’snam es).
                                thoughheisnotonany w itnesslistorinany R FP .

Insum ,Iw illnotagreetothesearchterm sregardingw itnessnam esnum bered124-341 unlessyou (a)providem ew ith
anactualR FP tow hichthey eachrelate,and (b)m akesom eefforttom atchthem toactualpeoplew hohavesom e
relationshiptothiscase(likefirstnam e/3 lastnam eorsom epartsthereof).

L aw yerN am es
W hatisyourbasisforsearchterm snum bered366-368:M cCaw ley,S chultzand Boies? L ikew isetotheextentM r.
Edw ardsand Cassellarealsoincluded inthew itnesslist,w hatisyourbasisforsearchingfordocum entsreferencing
them ? T hesesearchterm sseem ed designed topullprivileged attorney-clientcom m unicationsand donotcorrespond to
any R FP .W ew illnotagreetotheseterm s.

                                                          1
              Case 1:15-cv-07433-LAP Document 1202-5 Filed 01/27/21 Page 3 of 4


Com m onW ords
You haveincludedanum berofw ordsthatrelatetocom m onitem sand placenam es.P leaseexplainw hichR FP allow s
forasearchofthefollow ingterm s:

50 – S outhernDistrict(w hichw illpullupevery attorney-clientcom m unicationthatreferstoourcaseand includesany
pleading)
51 – P alm Beach(aplaceourclientlived form any years)
64 – N ew M exico
66-72 – U S VIby variousnam es
113 – hospital
114 – 116 – hotel,suite,villa(every singletravelrecord relatedtoourclient’stravelw hichtheCourthasnotordered)
119 – 120 – P aris,France
121 – 122 – Zoro,R anch
360 – Bed
361 – Bath
365 -L ingerie

O therW ords
M any otherw ordshavenorelationshiptothiscase.P leaseadvisem easto(a)w hichR FP they correspond toand (b)
yourgoodfaithbasisforseekingthesesearchterm sinrelationtoany suchR FP :

93 – Abernathy
94 – Brillo
355 – Guggenheim
358 -Gerbil

Conferral
Althoughm any ofyourothersearchterm sareatrem endousstretch,Icanagreetothem intheinterestofgettingthe
searchdoneonatim ely basis.Accordingtoourforensicexpert,runningasearchonM s.M axw ell’sdevicesofall368
term sw illtakem orethanaw eek.Iam availableby telephonetoday andtom orrow todiscusstheissuesraised herein.If
Idonothearfrom you,Iw illpresum ethatyou areinagreem enttotherem ainderoftheterm sbeingrunonthedevices.
T hatshould allow aproductionofdocum entsintim eforM s.M axw ell’scontinued depositionnextw eek.

Iam intentionally nottakingapositionregardingtheotherdem andsyou provided inyourletterofJune30 atpages1-2.
T hesearchesw illbeconducted inaccordancew ithstandard practicesintheindustry andtheCourtorderedusto
negotiatesearchterm sonly.

-Laura


                   L auraA .M enninger
                   Haddon,M organand Forem an,P .C.
                   150 East10thA venue
                   Denver,Colorado80203
                   M ain303.831.7364 FX 303.832.2628
                   lm enninger@ hm flaw .com
                   w w w .hm flaw .com

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attached toitm ay containinform ationthatisconfidentialorlegally privileged.Ifyou arenottheintended
                                                       2
              Case 1:15-cv-07433-LAP Document 1202-5 Filed 01/27/21 Page 4 of 4

recipient,orapersonresponsiblefordeliveringittotheintended recipient,you arehereby notifiedthatyou
m ustnotread thistransm issionand thatany disclosure,copying,printing,distributionoruseofany ofthe
inform ationcontained inorattached tothistransm issionisS T R ICT L Y P R O HIBIT ED.Ifyou havereceived this
transm issioninerror,pleasenotify thesenderby telephoneorreturne-m ailand deletetheoriginal
transm issionand itsattachm entsw ithoutreadingorsavingitinany m anner.T hankyou.




                                                      3
Case 1:15-cv-07433-LAP Document 1202-6 Filed 01/27/21 Page 1 of 5




                    EXHIBIT C
               Case 1:15-cv-07433-LAP Document 1202-6 Filed 01/27/21 Page 2 of 5




From:                           Laura Menninger
Sent:                           Monday, July 18, 2016 2:27 PM
To:                             'Meredith Schultz'
Cc:                             Jeff Pagliuca; 'Sigrid S. McCawley - Boies, Schiller & Flexner LLP
                                (smccawley@bsfllp.com)'; ''brad@pathtojustice.com' (brad@pathtojustice.com)'
Subject:                        RE: Giuffre - Conferral regarding search terms


DearM eredith,

Iam inreceiptofyouroppositiontotheL etterM otiontoS trikeyourM otionforanAdverseInference.T he
representationsintheR esponseareperplexing,particularly inlightofthebelow em ailcom m unicationinw hichI
specifically 1)inform edyou ofthesearchterm sthatw ew ould runderived from yourlist,and2)specifically requested a
telephoneconferenceontheissueofsearchterm spursuanttotheCourt’sO rderand priortoany suchsearch.

YourrepresentationtotheCourtthatw earerunning“ secretsearchterm sunilaterally chosenby Defendant” issim ply
inaccurate.Asclearly setforthinthebelow em ailcom m unication,inordertom oveproductionforw ard,w einvited
discussionregardingourplantorunasubsetofthesearchterm sthatyou selected.T heitem sexcluded from thesearch
w erethoseterm syou proposedthatw ereunattached toany discovery request,orw ould resultintheselection
irrelevantdocum entsduetothecom m onality oftheterm ortheirirrelevancetothiscase,suchasT erraM ar.T heterm s
runarenot“ secret” and notselected by thedefense– they are“ therem ainderoftheterm s” notspecifically discussed
inthebelow em ail.Foravoidanceofdoubt,itisyourproposed list,excluding item s49,50,51,64,66-72,93-94,113,
114-116,119-120,121-122,124-341,355,358,360,361,and 365,366-368.

S econd,and againcontrary totherepresentationinyourR esponse,Ispecifically requested atim eforatelephone
conferraltodiscussthesearchterm s.S pecifically,Istated “ I am available by telephone today and tomorrow to discuss
the issues raised herein.” Despitethisclearrequestforacalliftherew ereissuesyou w ishedtodiscuss,orifyou had
specificR FP ’stow hichtheexcluded term srelated,Iheard nothingfrom you onT hursday afternoonorFriday toseta
tim etodiscusstheterm sortheissuesraised regardingoverbreadth.Assuch,w eproceeded processingyourlistw ith
theexceptionssetforth.

Iw illreiteratem y offertosetacalltodiscusstheexcluded term stodeterm ineifthereareagreeableadditions.Inlight
ofthedepositionscheduled forFriday and thetim eittakestorunsearches,any callw ould needtobesetpriortonoon
M T tom orrow .P leaseadvise,onew ay ortheother,ifyou aresatisfiedw iththelistorifyou w ould liketosetacall.

-Laura


                 Laura A. Menninger
                 Haddon, Morgan and Foreman, P.C.
                 150 East 10th Avenue
                 Denver, Colorado 80203
                 Main 303.831.7364 FX 303.832.2628
                 lmenninger@hmflaw.com
                 www.hmflaw.com

CO N FIDEN T IAL IT Y N O T ICE:T hise-m ailtransm ission,and any docum ents,filesorpreviouse-m ailm essages
attached toitm ay containinform ationthatisconfidentialorlegally privileged.Ifyou arenottheintended
                                                         1
                  Case 1:15-cv-07433-LAP Document 1202-6 Filed 01/27/21 Page 3 of 5

recipient,orapersonresponsiblefordeliveringittotheintended recipient,you arehereby notifiedthatyou
m ustnotread thistransm issionand thatany disclosure,copying,printing,distributionoruseofany ofthe
inform ationcontained inorattached tothistransm issionisS T R ICT L Y P R O HIBIT ED.Ifyou havereceived this
transm issioninerror,pleasenotify thesenderby telephoneorreturne-m ailand deletetheoriginal
transm issionand itsattachm entsw ithoutreadingorsavingitinany m anner.T hankyou.



From: Laura Menninger
Sent: Thursday, July 14, 2016 2:35 PM
To: Meredith Schultz
Cc: Jeff Pagliuca; Sigrid S. McCawley - Boies, Schiller & Flexner LLP (smccawley@bsfllp.com); 'brad@pathtojustice.com'
(brad@pathtojustice.com)
Subject: Giuffre - Conferral regarding search terms

M eredith–

Iam w ritingtoyou,incom pliancew iththeCourt’sO rder,tonegotiatethesearchterm sforthesearchofourclient’s
electronicdevices.W hileJeffraisedm any oftheseissuesorally w ithBrad lastw eek,Iam includingthem inw rittenform
sothattherecanbenodisputeaboutourposition.

Idoobjecttothevastnum berofyour368 searchterm s.M ostarenottied toany R equestforP roductionservedonM s.
M axw ell,northeCourt’sO rderslim itingthoserequests.

T erram ar–
S earchterm 49 is“ T erram ar.” W hilew earesearchingourclient’sterram arem ailaddressforotherw iseresponsive
docum ents,thissearchterm w ould pullupthousandsofdocum entsrelated toherw orkforthatorganizationw hichare
(a)non-responsiveand(b)irrelevanttothisaction.W ew illnotagreetothisstandalonesearchterm .

W itnessN am es
W ithregardtothesearchterm snum bered 124-341,insofarasIcantell,you havesim ply brokenapartthefirstand last
nam esofevery w itnessincluded w ithinyourR ule26 disclosures.How ever,you neversubm itted aR FP seekingall
com m unicationsbetw eenourclientand yourw itnesses.T herearesom eR FP sw hichidentify individualw itnessesw hose
com m unicationsw ithourclientyou sought(e.g.,1 – Epstein,2,
                                           and Iw illincludethosenam esw ithinoursearches.

Astoothernam esincluded onthelist,m any areincredibly com m onnam es                                          )
w hichyou areaskingtosearchasstandaloneterm s,i.e.,divorced from theaccom panyingsurnam esorfirstnam es.You
haveincludedthenam e“ m ax*” w ellaw arethatourclient’ssurnam e,and thatofallofherpaternalfam ily m em bers,
w illbeginw iththosethreeletterstogether.Yoursearchterm sthusarelikely toyield every singleem ailsentorreceived
by ourclient,orherfam ily m em bers,orany otherdocum entinherpossessionw ithherow nnam eonthedocum entor
inthem etadata,inotherw ordshundredsofthousandsofnon-responsivedocum ents.Yoursearchterm sinclude“
and thusarelikely toincludeevery billthatourclienthasreceivedorsentordiscussed.Yoursearchterm sinclude
        w hothecourthasalready ruledm aintainsanattorney-clientrelationshipw ithourclient(and totheextent
othersarecopiedonhisem ails,thosew ould becaptured by searchesfortheotherpeople’snam es).
                                thoughheisnotonany w itnesslistorinany R FP .

Insum ,Iw illnotagreetothesearchterm sregardingw itnessnam esnum bered124-341 unlessyou (a)providem ew ith
anactualR FP tow hichthey eachrelate,and (b)m akesom eefforttom atchthem toactualpeoplew hohavesom e
relationshiptothiscase(likefirstnam e/3 lastnam eorsom epartsthereof).

L aw yerN am es
                                                           2
              Case 1:15-cv-07433-LAP Document 1202-6 Filed 01/27/21 Page 4 of 5
W hatisyourbasisforsearchterm snum bered366-368:M cCaw ley,S chultzand Boies? L ikew isetotheextentM r.
Edw ardsand Cassellarealsoincluded inthew itnesslist,w hatisyourbasisforsearchingfordocum entsreferencing
them ? T hesesearchterm sseem ed designed topullprivileged attorney-clientcom m unicationsand donotcorrespond to
any R FP .W ew illnotagreetotheseterm s.

Com m onW ords
You haveincludedanum berofw ordsthatrelatetocom m onitem sand placenam es.P leaseexplainw hichR FP allow s
forasearchofthefollow ingterm s:

50 – S outhernDistrict(w hichw illpullupevery attorney-clientcom m unicationthatreferstoourcaseand includesany
pleading)
51 – P alm Beach(aplaceourclientlived form any years)
64 – N ew M exico
66-72 – U S VIby variousnam es
113 – hospital
114 – 116 – hotel,suite,villa(every singletravelrecord relatedtoourclient’stravelw hichtheCourthasnotordered)
119 – 120 – P aris,France
121 – 122 – Zoro,R anch
360 – Bed
361 – Bath
365 -L ingerie

O therW ords
M any otherw ordshavenorelationshiptothiscase.P leaseadvisem easto(a)w hichR FP they correspond toand (b)
yourgoodfaithbasisforseekingthesesearchterm sinrelationtoany suchR FP :

93 – Abernathy
94 – Brillo
355 – Guggenheim
358 -Gerbil

Conferral
Althoughm any ofyourothersearchterm sareatrem endousstretch,Icanagreetothem intheinterestofgettingthe
searchdoneonatim ely basis.Accordingtoourforensicexpert,runningasearchonM s.M axw ell’sdevicesofall368
term sw illtakem orethanaw eek.Iam availableby telephonetoday andtom orrow todiscusstheissuesraised herein.If
Idonothearfrom you,Iw illpresum ethatyou areinagreem enttothe rem ainderoftheterm sbeingrunonthedevices.
T hatshould allow aproductionofdocum entsintim eforM s.M axw ell’scontinued depositionnextw eek.

Iam intentionally nottakingapositionregardingtheotherdem andsyou provided inyourletterofJune30 atpages1-2.
T hesearchesw illbeconducted inaccordancew ithstandard practicesintheindustry andtheCourtorderedusto
negotiatesearchterm sonly.

-Laura


                   Laura A. Menninger
                   Haddon, Morgan and Foreman, P.C.
                   150 East 10th Avenue
                   Denver, Colorado 80203
                   Main 303.831.7364 FX 303.832.2628
                   lmenninger@hmflaw.com

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              Case 1:15-cv-07433-LAP Document 1202-6 Filed 01/27/21 Page 5 of 5
                 www.hmflaw.com

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recipient,orapersonresponsiblefordeliveringittotheintended recipient,you arehereby notifiedthatyou
m ustnotread thistransm issionand thatany disclosure,copying,printing,distributionoruseofany ofthe
inform ationcontained inorattached tothistransm issionisS T R ICT L Y P R O HIBIT ED.Ifyou havereceived this
transm issioninerror,pleasenotify thesenderby telephoneorreturne-m ailand deletetheoriginal
transm issionand itsattachm entsw ithoutreadingorsavingitinany m anner.T hankyou.




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Case 1:15-cv-07433-LAP Document 1202-7 Filed 01/27/21 Page 1 of 6




                    EXHIBIT D
              Case 1:15-cv-07433-LAP Document 1202-7 Filed 01/27/21 Page 2 of 6




From:                          Laura Menninger
Sent:                          Tuesday, July 19, 2016 11:33 AM
To:                            'Meredith Schultz'
Subject:                       RE: Giuffre - Conferral regarding search terms


M eredith:

Iw ritetoconfirm ouroralconferral.P leaseletm eknow ifyou disagreew iththefollow ingorifthereissom eother
agreem entyou thinkw ereached:

   1. Iw illendeavortohavem y clientgainaccesstoanearthlinkaccountthatyou believeishers.Yourbasisforthat
      beliefisadiskyou produced lastw eek,obtained pursuanttoaFO IA request,thatcontained atP age2035 an
      addressbookfrom approxim ately 2005 w hichhasthatearthlinkaccountnam enexttoM s.M axw ell’snam e.

   2. T erram ar– You havew ithdraw nthatasastandalonesearchterm .Ihaverepresented toyou thatw ehave
      searched allT erram arem ailsforotherw iseresponsivedocum entsasw ellas

   3. W itnessnam es– You believethatsearchterm s124-341,w hicharew itnessnam esbrokenupintofirstand last
      nam esfrom yourR ule26 list,relatetoyourR FP num ber5 (“ Alldocum entsrelatingtom assages… ” ).I
      represented toyou thatIhavesearchedfortheterm s“ m assage,    ” “ m asseur,
                                                                                ” “ therapy” etc.asyou requested,
      butyou w ould stilllikem etosearchasubsetof124-341 surnam esnam esforallcom m unicationsw ithcertain
      w itnessesthatyou believerelateto“ m assages.” IsaidIw ould lookatyourlist,w henyou send it,and evaluate
      w hetherw estillobjecttorunningthosem orelim itednam estoseeifthereareany com m unicationsthat“ relate
      tom assages.” Istillobjectthatthesearchterm sinvolvingnam esistoobroad andburdensom eform etohave
      toreview allcom m unicationsw iththoseindividualstotry todiscernw hatyou believem ay orm ay notrelateto
      a“ m assage.”

   4. L aw yernam es– You havew ithdraw n.

   5. Com m onw ords– You havew ithdraw nw iththeexceptionof“ lingerie,
                                                                      ” w hichIw illruntoseeifitrelatesin
      som ew ay toR FP 5 (“ m assages”).

   6. O therw ords–
          a. You havew ithdraw n#93 Abernathy and #94 Brillo.
          b. Im aintainm y objectiontoGuggenheim ,thenam eofam useum w hichyou represented tom epertains
              insom ew ay toallegationsm adeby w itnesses      butforw hichnodocum entsorotherinform ation
              hasbeenshared (i.e.,Ihaveneverseenany allegationsby                 .BecausethereisnoR FP to
              w hichIbelievethatterm relates,and itisthenam eofam useum ,Iobjecttorunningthatsearchterm .
          c. Gerbil– You havew ithdraw n.

   7. Additionally:
         a. Iadvisedyou thatIw asnotabletosearchfor#                   becausethoselettersarethefirstpartofm y
              client’slongstandingem ailaddress,and searchforthatterm w illyield literally every singleem ailshehas
              sentorreceived.Ibelieveyou havew ithdraw nthatrequested searchterm .
         b. Iadvisedyou thatIw asnotabletosearchforinitialsat#16-21 and75-77.T otheextentthoseinitials
              representpeoplefrom w hom you haverequestedallcom m unications(and w hichtheCourthaslim ited
              to1999-2002 and post-2002 asthey relatetosex trafficking),forexam ple,Jeffrey Epstein
                      ,Iam searchingforand producingresponsivedocum ents,sothereisnoneed tosearchforthe

                                                         1
                Case 1:15-cv-07433-LAP Document 1202-7 Filed 01/27/21 Page 3 of 6
                initials.W ithregardsto ,you toldm ethatis                 and thereisnostandalonerequestfor
                com m unicationsw ithher.

-Laura



                  L auraA .M enninger
                  Haddon,M organand Forem an,P .C.
                  150 East10thA venue
                  Denver,Colorado80203
                  M ain303.831.7364 FX 303.832.2628
                  lm enninger@ hm flaw .com
                  w w w .hm flaw .com

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recipient,orapersonresponsiblefordeliveringittotheintended recipient,you arehereby notifiedthatyou
m ustnotread thistransm issionand thatany disclosure,copying,printing,distributionoruseofany ofthe
inform ationcontained inorattached tothistransm issionisS T R ICT L Y P R O HIBIT ED.Ifyou havereceived this
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transm issionand itsattachm entsw ithoutreadingorsavingitinany m anner.T hankyou.


From :Laura Menninger
Sen t:Monday, July 18, 2016 2:27 PM
To:'Meredith Schultz'
Cc:Jeff Pagliuca; 'Sigrid S. McCawley - Boies, Schiller & Flexner LLP (smccawley@bsfllp.com)'; ''brad@pathtojustice.com'
(brad@pathtojustice.com)'
Subject :RE: Giuffre - Conferral regarding search terms

DearM eredith,

Iam inreceiptofyouroppositiontotheL etterM otiontoS trikeyourM otionforanAdverseInference.T he
representationsintheR esponseareperplexing,particularly inlightofthebelow em ailcom m unicationinw hichI
specifically 1)inform edyou ofthesearchterm sthatw ew ould runderived from yourlist,and2)specifically requested a
telephoneconferenceontheissueofsearchterm spursuanttotheCourt’sO rderand priortoany suchsearch.

YourrepresentationtotheCourtthatw earerunning“ secretsearchterm sunilaterally chosenby Defendant” issim ply
inaccurate.Asclearly setforthinthebelow em ailcom m unication,inordertom oveproductionforw ard,w einvited
discussionregardingourplantorunasubsetofthesearchterm sthatyou selected.T heitem sexcluded from thesearch
w erethoseterm syou proposedthatw ereunattached toany discovery request,orw ould resultintheselection
irrelevantdocum entsduetothecom m onality oftheterm ortheirirrelevancetothiscase,suchasT erraM ar.T heterm s
runarenot“ secret” and notselected by thedefense– they are“ therem ainderoftheterm s” notspecifically discussed
inthebelow em ail.Foravoidanceofdoubt,itisyourproposed list,excluding item s49,50,51,64,66-72,93-94,113,
114-116,119-120,121-122,124-341,355,358,360,361,and 365,366-368.

S econd,and againcontrary totherepresentationinyourR esponse,Ispecifically requested atim eforatelephone
conferraltodiscussthesearchterm s.S pecifically,Istated “ I am available by telephone today and tomorrow to discuss
the issues raised herein.” Despitethisclearrequestforacalliftherew ereissuesyou w ishedtodiscuss,orifyou had
specificR FP ’stow hichtheexcluded term srelated,Iheard nothingfrom you onT hursday afternoonorFriday toseta
                                                            2
               Case 1:15-cv-07433-LAP Document 1202-7 Filed 01/27/21 Page 4 of 6
tim etodiscusstheterm sortheissuesraised regardingoverbreadth.Assuch,w eproceeded processingyourlistw ith
theexceptionssetforth.

Iw illreiteratem y offertosetacalltodiscusstheexcluded term stodeterm ineifthereareagreeableadditions.Inlight
ofthedepositionscheduled forFriday and thetim eittakestorunsearches,any callw ould needtobesetpriortonoon
M T tom orrow .P leaseadvise,onew ay ortheother,ifyou aresatisfiedw iththelistorifyou w ould liketosetacall.

-Laura


                  L auraA .M enninger
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                  150 East10thA venue
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                  M ain303.831.7364 FX 303.832.2628
                  lm enninger@ hm flaw .com
                  w w w .hm flaw .com

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attached toitm ay containinform ationthatisconfidentialorlegally privileged.Ifyou arenottheintended
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inform ationcontained inorattached tothistransm issionisS T R ICT L Y P R O HIBIT ED.Ifyou havereceived this
transm issioninerror,pleasenotify thesenderby telephoneorreturne-m ailand deletetheoriginal
transm issionand itsattachm entsw ithoutreadingorsavingitinany m anner.T hankyou.



From :Laura Menninger
Sen t:Thursday, July 14, 2016 2:35 PM
To:Meredith Schultz
Cc:Jeff Pagliuca; Sigrid S. McCawley - Boies, Schiller & Flexner LLP (smccawley@bsfllp.com); 'brad@pathtojustice.com'
(brad@pathtojustice.com)
Subject :Giuffre - Conferral regarding search terms

M eredith–

Iam w ritingtoyou,incom pliancew iththeCourt’sO rder,tonegotiatethesearchterm sforthesearchofourclient’s
electronicdevices.W hileJeffraisedm any oftheseissuesorally w ithBrad lastw eek,Iam includingthem inw rittenform
sothattherecanbenodisputeaboutourposition.

Idoobjecttothevastnum berofyour368 searchterm s.M ostarenottied toany R equestforP roductionservedonM s.
M axw ell,northeCourt’sO rderslim itingthoserequests.

T erram ar–
S earchterm 49 is“ T erram ar.” W hilew earesearchingourclient’sterram arem ailaddressforotherw iseresponsive
docum ents,thissearchterm w ould pullupthousandsofdocum entsrelated toherw orkforthatorganizationw hichare
(a)non-responsiveand(b)irrelevanttothisaction.W ew illnotagreetothisstandalonesearchterm .

W itnessN am es


                                                           3
              Case 1:15-cv-07433-LAP Document 1202-7 Filed 01/27/21 Page 5 of 6
W ithregardtothesearchterm snum bered 124-341,insofarasIcantell,you havesim ply brokenapartthefirstand last
nam esofevery w itnessincluded w ithinyourR ule26 disclosures.How ever,you neversubm itted aR FP seekingall
com m unicationsbetw eenourclientand yourw itnesses.T herearesom eR FP sw hichidentify individualw itnessesw hose
com m unicationsw ithourclientyou sought(e.g.,1 – Epstein,2,
                                           and Iw illincludethosenam esw ithinoursearches.

Astoothernam esincluded onthelist,m any areincredibly com m onnam es
w hichyou areaskingtosearchasstandaloneterm s,i.e.,divorced from theaccom panyingsurnam esorfirstnam es.You
haveincludedthenam e“ m ax*” w ellaw arethatourclient’ssurnam e,and thatofallofherpaternalfam ily m em bers,
w illbeginw iththosethreeletterstogether.Yoursearchterm sthusarelikely toyield every singleem ailsentorreceived
by ourclient,orherfam ily m em bers,orany otherdocum entinherpossessionw ithherow nnam eonthedocum entor
inthem etadata,inotherw ordshundredsofthousandsofnon-responsivedocum ents.Yoursearchterm sinclude“
and thusarelikely toincludeevery billthatourclienthasreceivedorsentordiscussed.Yoursearchterm sinclude
        w hothecourthasalready ruledm aintainsanattorney-clientrelationshipw ithourclient(and totheextent
othersarecopiedonhisem ails,thosew ould becaptured by searchesfortheotherpeople’snam es).
                              ,thoughheisnotonany w itnesslistorinany R FP .

Insum ,Iw illnotagreetothesearchterm sregardingw itnessnam esnum bered124-341 unlessyou (a)providem ew ith
anactualR FP tow hichthey eachrelate,and (b)m akesom eefforttom atchthem toactualpeoplew hohavesom e
relationshiptothiscase(likefirstnam e/3 lastnam eorsom epartsthereof).

L aw yerN am es
W hatisyourbasisforsearchterm snum bered366-368:M cCaw ley,S chultzand Boies? L ikew isetotheextentM r.
Edw ardsand Cassellarealsoincluded inthew itnesslist,w hatisyourbasisforsearchingfordocum entsreferencing
them ? T hesesearchterm sseem ed designed topullprivileged attorney-clientcom m unicationsand donotcorrespond to
any R FP .W ew illnotagreetotheseterm s.

Com m onW ords
You haveincludedanum berofw ordsthatrelatetocom m onitem sand placenam es.P leaseexplainw hichR FP allow s
forasearchofthefollow ingterm s:

50 – S outhernDistrict(w hichw illpullupevery attorney-clientcom m unicationthatreferstoourcaseand includesany
pleading)
51 – P alm Beach(aplaceourclientlived form any years)
64 – N ew M exico
66-72 – U S VIby variousnam es
113 – hospital
114 – 116 – hotel,suite,villa(every singletravelrecord relatedtoourclient’stravelw hichtheCourthasnotordered)
119 – 120 – P aris,France
121 – 122 – Zoro,R anch
360 – Bed
361 – Bath
365 -L ingerie

O therW ords
M any otherw ordshavenorelationshiptothiscase.P leaseadvisem easto(a)w hichR FP they correspond toand (b)
yourgoodfaithbasisforseekingthesesearchterm sinrelationtoany suchR FP :

93 – Abernathy
94 – Brillo
355 – Guggenheim
358 -Gerbil

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Conferral
Althoughm any ofyourothersearchterm sareatrem endousstretch,Icanagreetothem intheinterestofgettingthe
searchdoneonatim ely basis.Accordingtoourforensicexpert,runningasearchonM s.M axw ell’sdevicesofall368
term sw illtakem orethanaw eek.Iam availableby telephonetoday andtom orrow todiscusstheissuesraised herein.If
Idonothearfrom you,Iw illpresum ethatyou areinagreem enttotherem ainderoftheterm sbeingrunonthedevices.
T hatshould allow aproductionofdocum entsintim eforM s.M axw ell’scontinued depositionnextw eek.

Iam intentionally nottakingapositionregardingtheotherdem andsyou provided inyourletterofJune30 atpages1-2.
T hesearchesw illbeconducted inaccordancew ithstandard practicesintheindustry andtheCourtorderedusto
negotiatesearchterm sonly.

-Laura


                 L auraA .M enninger
                 Haddon,M organand Forem an,P .C.
                 150 East10thA venue
                 Denver,Colorado80203
                 M ain303.831.7364 FX 303.832.2628
                 lm enninger@ hm flaw .com
                 w w w .hm flaw .com

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recipient,orapersonresponsiblefordeliveringittotheintended recipient,you arehereby notifiedthatyou
m ustnotread thistransm issionand thatany disclosure,copying,printing,distributionoruseofany ofthe
inform ationcontained inorattached tothistransm issionisS T R ICT L Y P R O HIBIT ED.Ifyou havereceived this
transm issioninerror,pleasenotify thesenderby telephoneorreturne-m ailand deletetheoriginal
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                    EXHIBIT E
               Case 1:15-cv-07433-LAP Document 1202-8 Filed 01/27/21 Page 2 of 6




From:                           Meredith Schultz <mschultz@BSFLLP.com>
Sent:                           Wednesday, July 20, 2016 11:24 AM
To:                             Laura Menninger
Cc:                             Sigrid McCawley; Jeff Pagliuca; Brad Edwards; Paul Cassell (cassellp@law.utah.edu)
Subject:                        RE: Conferral regarding forensic search

Follow Up Flag:                 Follow Up
Flag Status:                    Flagged


Laura,

Please see my additions in-line, in black, below to your email sent yesterday. My in-line communication should
also be responsive to the email that you just sent. If I have left anything out, please let me know.

Thanks,

Meredith

Meredith L. Schultz
BOIES, SCHILLER & FLEXNER LLP
401 East Las Olas Blvd., Suite 1200
Fort Lauderdale, FL 33301
Phone: 954-356-0011 ext. 4204
Fax: 954-356-0022
http://www.bsfllp.com

From: Laura Menninger [mailto:lmenninger@hmflaw.com]
Sent: Tuesday, July 19, 2016 1:33 PM
To: Meredith Schultz
Subject: RE: Giuffre - Conferral regarding search terms

Meredith:

I write to confirm our oral conferral. Please let me know if you disagree with the following or if there is some
other agreement you think we reached:

   1.Iw illendeavortohavem y clientgainaccesstoanearthlinkaccountthatyou believeishers.Yourbasisforthat
      beliefisadiskyou produced lastw eek,obtained pursuanttoaFO IA request,thatcontained atP age2035 an
      addressbookfrom approxim ately 2005 w hichhasthatearthlinkaccountnam enexttoM s.M axw ell’snam e.
      P leaseadviseoftheprocessesyou areundertakingtoaccesstheaccount,and theprocessyou undertookto
      ascertainthatthem indspringaccountnolongerexists.

   2.T erram ar– You havew ithdraw nthatasastandalonesearchterm .Ihaverepresented toyou thatw ehave
       searched allT erram arem ailsforotherw iseresponsivedocum entsasw ell    .

   3.W itnessnam es– You believethatsearchterm s124-341,w hicharew itnessnam esbrokenupintofirstand last
       nam esfrom yourR ule26 list,relatetoyourR FP num ber5 (“ Alldocum entsrelatingtom assages… ” ).I
       represented toyou thatIhavesearchedfortheterm s“ m assage,   ” “ m asseur,
                                                                                ” “ therapy” etc.asyou requested,
                                                          1
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                      Case 1:15-cv-07433-LAP Document 1202-8 Filed 01/27/21 Page 6 of 6

Meredith




Meredith L. Schultz
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401 East Las Olas Blvd., Suite 1200
Fort Lauderdale, FL 33301
Phone: 954-356-0011 ext. 4204
Fax: 954-356-0022
http://www.bsfllp.com

From: Laura Menninger [mailto:lmenninger@hmflaw.com]
Sent: Wednesday, July 20, 2016 1:01 PM
To: Meredith Schultz
Cc: Sigrid McCawley; Jeff Pagliuca; Brad Edwards; Paul Cassell (cassellp@law.utah.edu)
Subject: Conferral regarding forensic search

Meredith –

Apart from (i) the list of witness names you believe might be associated with the term “massage” (“massage”
and related terms that you requested have been searched), (ii) the word “lingerie”, and (iii) the
         we have completed the forensic copy, search, retrieval and review of all hits on our client’s devices
and email accounts as directed by the Court based on agreed to search terms, including those agreed to in our
conferral yesterday.

After review of more than 9,000 documents and files containing your search terms, the only documents located
not previously produced are 6 privileged documents which we will add to our log. We also located a number of
privileged communications between our client and myself following the onset of litigation in this case which
will not be logged consistent with both parties' agreed to practice. As predicted, no responsive non-privileged
documents resulted from the exercise.

I will keep you apprised of the results of the “lingerie” and status of ability to access the
account. If you want me to consider running additional witness names because you believe those people may
relate to RFP 5 regarding “massages”, please forward those names to me and your basis.

-Laura


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that, among other protections, is the subject of attorney-client privilege, attorney work product or exempt from disclosure under applicable law. If the reader of this
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                    EXHIBIT F
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                          Search Terms Defendant Has Already Searched

From Plaintiff’s June 30th proposed list:
(note: Plaintiff’s numbers have been used)

1) jef*
2) geof*
3) epst! !n*
4) jeevacation*
5) j* w/2 *jep*
6) j* w/2 *jeep*
7) roberts*
8) g!!ff!!*
9) virginia*
10) jenna*
11) jena*
12) genna*



22) massage*
23) masseur*
24) therapist*
26) mindspring*




42) *copter*
43) chopper*
44) pilot*
45) manifest*
46) log*
47) flight*
48) passport*
52) state* /3 attorney*




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57) al!n*
58) all!n*
59) dersh*

61) alandersh*




78) police*
79) cop*
80) fbi*
81) federal* w/3 bur*
82) bur* w/8 inves! *
83) sex*
84) abuse*
85) toy*
86) dildo*
87) strap* w/3 on*
88) vibr*
89) sm* w/3 101 *
90) slave*
91) erotic*
92) servitude*
95) high* w/3 school*
96) secondary* w/3 school*
97) campus*


100) licen!e*
101) assault*
102) juvenile*
103) seal*
104) joint* w/3 defen*
105) jda
106) roadhouse*

108) illegal*
109) immune*
110) prosecut*
111) law* w/3 enforc*
112) jane* w/3 *doe*
117) model*
118) actress*
123) vanity* w/ 3 fair*
342) underage*

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343) under!age*
344) minor*
345) daily* w/10 mail*
346) daily* w/10 news*
347) lie*
348) obvious* w/10 lie*
349) sex w/3 toy*
350) nipple*
351) schoolgirl
352) school w/3 girl
353) us w/3 att*
354) United w/3 states w/3 att*
356) Pedophil*
357) Paedophil*
359) Traffic*
362) Masturbate*
363) Ejaculate*
364) Masseuse*

From Plaintiff’s July 20 proposed list
       Alessi
    




    




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